 

DEC"M'YE'E“‘ 155§35@ 1:04-cr-351333E&W5Tl5:§cument 101

BARRY M. SABIN
Aetlng Uttited States At'temey
Ceuntertermrism Seetien

MICHABL P. SUI_LIVAN
Speeie.l Aseietant United Stetee Attemey
MICHAEL D. TAXAY t.-t.-- ~.

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‘I‘rial At'[omey U-¢'l>`

United States Department of luetiee

Ceunterterroriem Seetien p

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UNITED STATES DISTRICT COUR.T FOR 'I`HE DISTR.ICT DF ID.AHO

UNITED STATES OF AMERICA, )
)

)

Pl£tlntiff, )

vs. )

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eAvte ROLAM) mNt';soN, )
Defendent. )

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Ceee Ne. CR~OA- 1 27-C-R.CT

GOVERNMENT’S MOTION FOR. LEA`VE TO FILE
SUPPLEL/IENI`AL SUBMIS SIDN REGARDING DEFENDANT’S MDTION
TO SUPPRESS EVI'D'E.NCE OF DEFENDANT’S ALLEGED CONFES SION

COMES NOW the United Stetee of Amet'iee, by end through ita undersigned ettemeye,

end respectfully requests leave te tile a Supplementel Submiesion Regerding Defendent’s Metion

Te Suppress Evidence Of Det`endant’e A.lleged Cenfessien, e eepy of Whieh is attached herete.

This supplemental submission seeks te address en issue that was raised during the evidenth

GDVER.NMENT’S MOTION FOR LEAVE TO FILE
SUPPLEMENTAL S“U`BMISSION REGARDING DEFENDANT ’S MGTIC>N
TO SUPPR.ESS EVIDENCE OF DEFENDANT’S ALLEGED CON'FESSION

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hearing and oral argument on December 7, 2004; speeiiieslly, whether the Dsfendant initiated s
generalized discussion about the investigation
A form of order is also atteshed.

Respeetfully submitted,

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Speoial Assistsnt United States Attomey
MICHAEL D. TAXAY

Trial Attomey

United States Depsrtment of lustiee
Counterterrorism Seetion

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Washington, DC 20530

Telephone: (202) 353-3125

Dated: Deeember 14, 2004

GOVERNMEN'I"S MOTION FOR LEAVE TD FILE
SUPPLEMENTAL SUBMISSIDN REGARD]NG DEFENDANT’S MOTION
TO SUPPRESS EV]DENCE OF DEFEN'DANT'S ALLEGED CONFESSION

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